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 4
                             UNITED STATES DISTRICT COURT
 5
                          SOUTHERN DISTRICT OF CALIFORNIA
 6
 7                        (HONORABLE BARRY T. MOSKOWITZ)

 8
     UNITED STATES OF AMERICA,                     )      Case No. 09-CR-2709-BTM
 9
                                                   )
10         Plaintiff,                              )
                                                   )
11   v.                                            )      ORDER ON JOINT MOTION TO
12                                                 )      TO CONTINUE MOTION
     VILAPHETH HAM PHRAKOUSONH(2),                 )      HEARING
13   BOUALIVANH PHRAKOUSONH(3),                    )
14   KHAPHA PHRAKOUSONH (4),                       )
     KINNALON PHRAKOUSONH (5),                     )
15   NOY BOUCHALEUN(6)                             )
     KHAMLA PHOMPHILA (7),                         )
16
                                                   )
17         Defendant.                              )
                                                   )
18
19         Upon the joint motion of the parties, and good cause having been shown:

20   IT IS HEREBY ORDERED that the hearing on the Motion to Suppress Wiretap Evidence
21
     calendared for Monday, May 3, 2010 at 11:00 a.m. be continued to Monday May 17, 2010 at
22
     2:00 p.m.
23
24         SO ORDERED.

25   DATED: April 29, 2010
26
27
                                                Honorable Barry Ted Moskowitz
28
                                                United States District Judge
